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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
Case No. 12-CV-00864 RPM

GAIL L. BANCROFT, individually and a next friend
of her minor daughters, REBECCA HUGHES,
FAITH HUGHES and EMILY HUGHES,
and G. WARREN BANCROFT,

        Plaintiffs,
v.

HARRIS TRANSPORTATION COMPANY, LLC

      Defendant.
_________________________________________________________________________________

                      ORDER OF DISMISSAL WITH PREJUDICE
_________________________________________________________________________________

        The Court, having reviewed the Stipulation to Dismiss with Prejudice signed by all parties,

hereby Orders that the within action is dismissed with prejudice, each party to pay their own costs

and attorney's fees.

        So Ordered this 30th day of August, 2012.

                                       BY THE COURT:

                                       s/Richard P. Matsch

                                       _________________________________
                                       Richard P. Matsch, Senior Judge
